          Case 19-36313 Document 1270 Filed in TXSB on 03/31/20 Page 1 of 6




                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

_________________________________________
                                          )
In re:                                    )                           Chapter 11
                                          )
SOUTHERN FOODS GROUPS, LLC, et al.,       )                           Case No. 19-36313 (DRJ)
                                          )
            Debtors.1                     )                           Jointly Administered
                                          )
_________________________________________ )

                                NOTICE OF BID RESULTS
                               [Relates to Dkt Nos. 925 & 1178]
______________________________________________________________________________
        PLEASE TAKE NOTICE that, on March 19, 2020, the United States Bankruptcy Court
for the Southern District of Texas (the “Bankruptcy Court”) entered the Order (I) Approving
Bidding Procedures for Sale of Debtors’ Assets, (II) Scheduling Hearing to Approve Sale of
Debtors’ Assets, (III) Approving Form and Manner of Notices of Sale and Sale Hearing, (IV)
Approving Assumption and Assignment Procedures, and (V) Granting Related Relief [D.I. 1178]
(the “Bidding Procedures Order”)2.

        PLEASE TAKE FURTHER NOTICE that, as required in the Bidding Procedures
Order, the Debtors are filing copies of the bids that the Debtors received pursuant to the Bidding
Procedures Order substantially contemporaneously herewith (the “Notice of Bids”).



     1
       The debtors and debtors in possession in these chapter 11 cases, along with the last four digits of their
respective Employer Identification Numbers, are as follows: Southern Foods Group, LLC (1364); Dean Foods
Company (9681); Alta-Dena Certified Dairy, LLC (1347); Berkeley Farms, LLC (8965); Cascade Equity Realty,
LLC (3940); Country Fresh, LLC (6303); Dairy Information Systems Holdings, LLC (9144); Dairy Information
Systems, LLC (0009); Dean Dairy Holdings, LLC (9188); Dean East II, LLC (9192); Dean East, LLC (8751); Dean
Foods North Central, LLC (7858); Dean Foods of Wisconsin, LLC (2504); Dean Holding Company (8390); Dean
Intellectual Property Services II, Inc. (3512); Dean International Holding Company (9785); Dean Management, LLC
(7782); Dean Puerto Rico Holdings, LLC (6832); Dean Services, LLC (2168); Dean Transportation, Inc. (8896);
Dean West II, LLC (9190); Dean West, LLC (8753); DFC Aviation Services, LLC (1600); DFC Energy Partners,
LLC (3889); DFC Ventures, LLC (4213); DGI Ventures, Inc. (6766); DIPS Limited Partner II (7167); Franklin
Holdings, Inc. (8114); Fresh Dairy Delivery, LLC (2314); Friendly’s Ice Cream Holdings Corp. (7609); Friendly’s
Manufacturing and Retail, LLC (9828); Garelick Farms, LLC (3221); Mayfield Dairy Farms, LLC (3008); Midwest
Ice Cream Company, LLC (0130); Model Dairy, LLC (7981); Reiter Dairy, LLC (3675); Sampson Ventures, LLC
(7714); Shenandoah’s Pride, LLC (2858); Steve’s Ice Cream, LLC (6807); Suiza Dairy Group, LLC (2039);
Tuscan/Lehigh Dairies, Inc. (6774); Uncle Matt’s Organic, Inc. (0079); and Verifine Dairy Products of Sheboygan,
LLC (7200). The debtors’ mailing address is 2711 North Haskell Avenue, Suite 3400, Dallas, TX 75204.
     2
     Capitalized terms used herein but not otherwise defined shall have the meaning ascribed to them in the
Bidding Procedures Order.




#93071880v6
          Case 19-36313 Document 1270 Filed in TXSB on 03/31/20 Page 2 of 6




         PLEASE TAKE FURTHER NOTICE that, as required in the Bidding Procedures
Order, the Debtors have designated the following Successful Bids and, as applicable, the
Alternate Bids for certain lots of Bid Assets, subject to the execution of final documentation and
the entry of Sale Orders by the Bankruptcy Court approving the sales to the Successful Bidders
(or, if necessary, the Alternate Bidders):



           Bid Assets                    Successful Bidders              Alternate Bidders
Assets, rights, interests, and      Dairy Farmers of America,      Harvard, Illinois and
properties relating to facilities   Inc.                           Rockford, Illinois, De Pere,
in:                                                                Wisconsin:
Athens, Tennessee                                                  Country Delight
Albuquerque, New Mexico                                            Salt Lake City, Utah, Boise,
Belvidere, Illinois                                                Idaho, and Billings,
Billings, Montana                                                  Montana:
Birmingham, Alabama                                                Darigold, Inc.
Boise, Idaho                                                       Albuquerque, New Mexico,
Burlington, New Jersey                                             Lubbock, Texas, and El
City of Industry (North),                                          Paso, Texas:
California                                                         Golden West Dairy, LLC
City of Industry (South),                                          City of Industry (South),
California                                                         California: Hollandia Dairy,
Dallas, Texas                                                      Inc.
Decatur, Indiana                                                   High Point, North Carolina:
De Pere, Wisconsin                                                 Maryland and Virginia Milk
El Paso, Texas                                                     Producers Cooperative
Englewood, Colorado                                                Association, Inc.
Franklin, Massachusetts                                            Nashville (Country Delite):
Grand Rapids, Michigan                                             OP Church Street Property,
Great Falls, Montana                                               LLC
Greely, Colorado                                                   Las Vegas, Nevada:
Harvard, Illinois                                                  Producers Dairy Foods
High Point, North Carolina                                         Rensselaer, New York and
Houston, Texas                                                     Sharpsville, Pennsylvania:
Huntington, Indiana                                                Upstate Niagara Cooperative,
Lansdale, Pennsylvania                                             Inc.
Las Vegas, Nevada
Lebanon, Pennsylvania
Le Mars, Iowa
Lubbock, Texas
Marquette, Michigan
Nashville, Tennessee (two
plants)
Orlando and Orange City,
Florida
Rensselaer, New York



#93071880v6
          Case 19-36313 Document 1270 Filed in TXSB on 03/31/20 Page 3 of 6




Rockford, Illinois
Salt Lake City, Utah
San Antonio, Texas
Schuykill, Pennsylvania
Sharpsville, Pennsylvania
St. George, Utah
Spartanburg, South Carolina
Springfield, Ohio
Toledo, Ohio
Wilbraham, Massachusetts
Winston-Salem, North
Carolina
For the avoidance of doubt,
the Dairy Farmers of America,
Inc. bid excludes those assets
related to the Good Karma,
Franklin Plastics, Uncle
Matt’s Organic, and the
Digester JV Business
Assets, rights, interests, and      Prairie Farms Dairy, Inc.   Marietta, Ohio:
properties relating to facilities                               United Dairy, Inc.
in:
Birmingham, Alabama (milk)
Tulsa, Oklahoma,
Sioux Falls, South Dakota
Bismarck, North Dakota
Woodbury, Minnesota
Marietta, Ohio
O’Fallon, Illinois
Hammond, Louisiana
Akron, Ohio
Livonia, Michigan
Customer list related to the
facility located at Louisville,
Kentucky
Assets, rights, interests, and      Mana Saves McArthur, LLC    Cream-O-Land Dairies, LLC
properties relating to facilities
in:
Miami, Florida
Assets, rights, interests, and      Producers Dairy Foods
properties relating to facilities
located in Reno, Nevada and
the “Berkeley Farms:
trademark and related
intellectual property




#93071880v6
          Case 19-36313 Document 1270 Filed in TXSB on 03/31/20 Page 4 of 6




All assets, rights, and           Harmoni, Inc.
properties in connection with
or relating to the business of
manufacturing, marketing,
distribution, and selling of
“Uncle Matt’s Organic” –
branded juice products and
popsicles.


        PLEASE TAKE FURTHER NOTICE that copies of the Successful Bids and Alternate
Bids, as applicable, were included in the Notice of Bids.

       PLEASE TAKE FURTHER NOTICE that the Debtors will promptly file, in
connection with each Sale Transaction for the Successful Bids, (a) a form of Sale Order
approving the Sale Transaction and (b) the Proposed Assumed Contracts Schedule.

        PLEASE TAKE FURTHER NOTICE that objections to a Sale Order or a Sale
Transaction must (a) be in writing, (b) state, with specificity, the legal and factual bases thereof,
(c) comply with the Bankruptcy Code, Bankruptcy Rules and Local Rules, and (d) April 1, 2020
at 12:00 p.m. (prevailing Central Time) by be (i) filed with the Court and (ii) be served on
(A) counsel to the Debtors, (1) Davis Polk & Wardwell LLP, 450 Lexington Avenue, New York,
New York 10017, Attn: Brian M. Resnick, Steven Z. Szanzer, and Nate Sokol, and (2) Norton
Rose Fulbright US LLP, 1301 McKinney Street, Suite 5100, Houston, Texas 77010, Attn:
William Greendyke, Jason L. Boland, Robert B. Bruner, and Julie Harrison, (B) (1) counsel to
the DIP Agent and the Prepetition Agent, White & Case LLP, 1221 Avenue of the Americas,
New York, NY 10020, Attn: Scott Greissman, Philip Abelson, and Elizabeth Feld and (2) Gray
Reed, 1300 Post Oak Blvd, Suite 2000, Houston, TX 77056, Attn: Jason S. Brookner,
(C) counsel to the Committee, Akin Gump Strauss Hauer & Feld LLP, One Bryant Park, New
York, NY 10036, Attn: Philip Dublin and Meredith Lahaie, and (D) the U.S. Trustee
(collectively, the “Objection Notice Parties”). .

         PLEASE TAKE FURTHER NOTICE that, pursuant to the Assumption and
Assignment Procedures, objections to the proposed assumption and assignment of an Assumed
Contract or Assumed Lease with respect to the Debtors’ proposed Cure Costs, if any, or the
ability of the Successful Bidder(s) to provide adequate assurance of future performance must
(a) be in writing, (b) comply with the Bankruptcy Code, Bankruptcy Rules, and Local Rules,
(c) state, with specificity, the legal and factual bases thereof, including, if applicable, the Cure
Cost that the Counterparty believes is required to cure defaults under the relevant Assumed
Contract or Assumed Lease, and (d) by no later than April 1, 2020 at 12:00 p.m. (prevailing
Central Time), (i) be filed with the Court and (ii) be served on the Objection Notice Parties.

       PLEASE TAKE FURTHER NOTICE that a hearing to consider approval of the Sale
Transaction(s) is scheduled for April 3, 2020, at 9:00 a.m. (prevailing Central Time) at the
Bankruptcy Court, at 515 Rusk Street, Houston, TX 77002.




#93071880v6
          Case 19-36313 Document 1270 Filed in TXSB on 03/31/20 Page 5 of 6




        PLEASE TAKE FURTHER NOTICE that copies of the Bidding Procedures Order,
Notice of Bids, and any other related documents filed with the Court are available free of charge
on the Debtors’ case information website, located at https://dm.epiq11.com/SouthernFoods or
can be requested by email at DeanInfo@epiqglobal.com.




#93071880v6
    Case 19-36313 Document 1270 Filed in TXSB on 03/31/20 Page 6 of 6




Dated:        March 30, 2020
              Houston, Texas
                                  Respectfully submitted,
                                  NORTON ROSE FULBRIGHT US LLP

                                  /s/ William R. Greendyke
                                   William R. Greendyke (SBT 08390450)
                                   Jason L. Boland (SBT 24040542)
                                   Robert B. Bruner (SBT 24062637)
                                   Julie Goodrich Harrison (SBT 24092434)
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                                  -and-

                                  DAVIS POLK & WARDWELL LLP

                                  Brian M. Resnick (admitted pro hac vice)
                                  Elliot Moskowitz (admitted pro hac vice)
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                                  Counsel to the Debtors and Debtors in Possession




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